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                 EXHIBIT A
Case 4:24-cv-00980-ALM               Document 52-2 Filed 06/10/25                           Page 2 of 10 PageID #:
                                               1842

 From:            ThucMinh Nguyen
 To:              John B. Campbell; Allen Gardner
 Cc:              Casey L. Shomaker; Clara Bourget; Emily Tannenbaum; Kenneth Scott; Alan Block; AA_Intellectual_Ventures;
                  Jonathan K. Waldrop; John Downing; Intellectual Ventures
 Subject:         RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980
 Date:            Friday, May 23, 2025 9:43:32 PM
 Attachments:     image001.png
                  image002.png



 John,

 We are filing our forthcoming Opposed Motion for Leave to Amend the Complaint. There are
 confidential licensing information referenced in the Amended Complaint. Therefore, we will be filing a
 motion to seal. We assume that American is also opposed to this Motion to Seal and will indicate as
 such.

 Many thanks,
 Minh

 From: ThucMinh Nguyen
 Sent: Friday, May 23, 2025 4:45 PM
 To: 'John B. Campbell' <jcampbell@McKoolSmith.com>; Allen Gardner
 <Allen@allengardnerlaw.com>
 Cc: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
 <cbourget@McKoolSmith.com>; Emily Tannenbaum <etannenbaum@McKoolSmith.com>; Kenneth
 Scott <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
 AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>; Jonathan K. Waldrop
 <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>; Intellectual Ventures
 <IntellectualVentures@kasowitz.com>
 Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980

 John,

 Following up on the below. Please let us know American’s position on IV’s Motion for Leave
 to File an Amended Complaint. As previously indicated, we are readily available to meet and
 confer today. If we do not hear from you, we will assume that American opposes the Motion
 for Leave and will indicate as such in our forthcoming motion.

 Regards,
 Minh

 From: John B. Campbell <jcampbell@McKoolSmith.com>
 Sent: Friday, May 23, 2025 6:54 AM
 To: ThucMinh Nguyen <TNguyen@kasowitz.com>; Allen Gardner <Allen@allengardnerlaw.com>
 Cc: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
 <cbourget@McKoolSmith.com>; Emily Tannenbaum <etannenbaum@McKoolSmith.com>; Kenneth
 Scott <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
Case 4:24-cv-00980-ALM                       Document 52-2 Filed 06/10/25                              Page 3 of 10 PageID #:
                                                       1843

 AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>; Jonathan K. Waldrop
 <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>; Intellectual Ventures
 <IntellectualVentures@kasowitz.com>
 Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980

 Minh,

 It is not appropriate to “assume” American’s position on an issue. See L.R. 7(h).

 Of course, to have a “sincere effort in which the participants present the merits of their respective
 positions” in a meet and confer, L.R. 7(h), American needs a copy of the proposed amended
 complaint. It’s difficult to form a view on a proposed amended complaint without understanding the
 scope of the proposed amendment(s). American understands that IV is refusing to provide a copy of
 the proposed amended complaint unless American agrees not to use providing the proposed
 amended complaint as a basis for the declaratory judgment action. We will discuss IV’s request with
 our client and let you know if American agrees.

 Thanks,
 John


 McKool Smith | John B. Campbell
 Principal | Austin, TX | Tel: (512) 692-8730

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 From: ThucMinh Nguyen <TNguyen@kasowitz.com>
 Sent: Thursday, May 22, 2025 5:31 PM
 To: John B. Campbell <jcampbell@McKoolSmith.com>; Allen Gardner <Allen@allengardnerlaw.com>
 Cc: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
 <cbourget@McKoolSmith.com>; Emily Tannenbaum <etannenbaum@McKoolSmith.com>; Kenneth
 Scott <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
 AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>; Jonathan K. Waldrop
 <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>; Intellectual Ventures
 <IntellectualVentures@kasowitz.com>
 Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980

 John,

 We attempted to reach you earlier by telephone to discuss our forthcoming motion for leave to
 amend the complaint but were unable to connect with you.

 As previously indicated, the amended complaint will include additional patents, and we intend
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                                                       1844

 to file our motion tomorrow. At this time, we are not in a position to provide a draft of the
 amended complaint absent an enforceable agreement that American and its affiliates will not
 seek a declaratory judgment.

 Please return our call or let us know a convenient time to discuss. If we do not hear from you,
 we will assume that American opposes the motion and will indicate as such in our motion.

 Regards,
 Minh

 From: John B. Campbell <jcampbell@McKoolSmith.com>
 Sent: Thursday, May 22, 2025 5:25 AM
 To: ThucMinh Nguyen <TNguyen@kasowitz.com>; Allen Gardner <Allen@allengardnerlaw.com>
 Cc: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
 <cbourget@McKoolSmith.com>; Emily Tannenbaum <etannenbaum@McKoolSmith.com>; Kenneth
 Scott <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
 AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>; Jonathan K. Waldrop
 <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>; Intellectual Ventures
 <IntellectualVentures@kasowitz.com>
 Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980

 Minh,

 Thanks for following up a few hours after sending the original request. We appreciate IV generally
 identifying the high-level purpose for amending its complaint (to add patents) in this latest request.
 Please provide a draft of the proposed amended complaint along with a red-line for American’s
 consideration. Once we’ve had a chance to review and discuss with our client, we will provide times
 to meet and confer.

 Thanks,
 John




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 From: ThucMinh Nguyen <TNguyen@kasowitz.com>
 Sent: Wednesday, May 21, 2025 3:21 PM
 To: Allen Gardner <Allen@allengardnerlaw.com>
Case 4:24-cv-00980-ALM           Document 52-2 Filed 06/10/25              Page 5 of 10 PageID #:
                                           1845

 Cc: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
 <cbourget@McKoolSmith.com>; John B. Campbell <jcampbell@McKoolSmith.com>; Emily
 Tannenbaum <etannenbaum@McKoolSmith.com>; Kenneth Scott <kscott@McKoolSmith.com>;
 Alan Block <ABlock@McKoolSmith.com>; AA_Intellectual_Ventures
 <AA_Intellectual_Ventures@mckoolsmith.com>; Jonathan K. Waldrop <JWaldrop@kasowitz.com>;
 John Downing <JDowning@kasowitz.com>; Intellectual Ventures
 <IntellectualVentures@kasowitz.com>
 Subject: Re: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-00980


 Counsel,

 Following up on our meet and confer request below. IV intends to move for leave to add
 additional patents in the case against American by this Friday. We are happy to meet and
 confer with American to discuss, but we need to schedule the meet and confer. Otherwise we
 will assume American is opposed.

 Many thanks,
 Minh



 On May 21, 2025, at 7:36 AM, Allen Gardner <Allen@allengardnerlaw.com> wrote:

       Casey,

       We’d like to confer regarding a motion for leave to file an amended complaint.
       When are you folks available to confer regarding this matter?

       Sincerely,

       Allen F. Gardner
       Allen Gardner Law, PLLC
       609 S. Fannin
       Tyler, Texas 75701
       allen@allengardnerlaw.com
       www.allengardnerlaw.com
       Ph: 903-944-7537
       F: 903-944-7856

       Do Justice. Love Mercy. Walk Humbly.

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     From: Casey L. Shomaker <cshomaker@McKoolSmith.com>
     Sent: Friday, May 16, 2025 9:06 AM
     To: ThucMinh Nguyen <TNguyen@kasowitz.com>
     Cc: Clara Bourget <cbourget@McKoolSmith.com>; John B. Campbell
     <jcampbell@McKoolSmith.com>; Emily Tannenbaum
     <etannenbaum@McKoolSmith.com>; Kenneth Scott <kscott@McKoolSmith.com>; Alan
     Block <ABlock@McKoolSmith.com>; AA_Intellectual_Ventures
     <AA_Intellectual_Ventures@mckoolsmith.com>; Allen Gardner
     <Allen@allengardnerlaw.com>; Jonathan K. Waldrop <JWaldrop@kasowitz.com>; John
     Downing <JDowning@kasowitz.com>; Intellectual Ventures
     <IntellectualVentures@kasowitz.com>
     Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-
     00980


     Hi Minh,

     These look good. You may add my signature and file.

     Thanks,



     <image001.png>               <image002.png>

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     From: ThucMinh Nguyen <TNguyen@kasowitz.com>
     Sent: Thursday, May 15, 2025 7:26 PM
     To: Casey L. Shomaker <cshomaker@McKoolSmith.com>
     Cc: Clara Bourget <cbourget@McKoolSmith.com>; John B. Campbell
     <jcampbell@McKoolSmith.com>; Emily Tannenbaum
     <etannenbaum@McKoolSmith.com>; Kenneth Scott <kscott@McKoolSmith.com>; Alan
     Block <ABlock@McKoolSmith.com>; AA_Intellectual_Ventures
     <AA_Intellectual_Ventures@mckoolsmith.com>; Allen Gardner
     <Allen@allengardnerlaw.com>; Jonathan K. Waldrop <JWaldrop@kasowitz.com>; John
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     Downing <JDowning@kasowitz.com>; Intellectual Ventures
     <IntellectualVentures@kasowitz.com>
     Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-
     00980


     Casey,

     Attached is a draft of the motion for extension. Please let us know if you have edits and
     whether we have your consent to file.

     Many thanks,
     Minh

     From: ThucMinh Nguyen <TNguyen@kasowitz.com>
     Sent: Thursday, May 15, 2025 1:08 PM
     To: Casey L. Shomaker <cshomaker@mckoolsmith.com>
     Cc: Clara Bourget <cbourget@mckoolsmith.com>; John B. Campbell
     <jcampbell@mckoolsmith.com>; Emily Tannenbaum
     <etannenbaum@mckoolsmith.com>; Kenneth Scott <kscott@mckoolsmith.com>; Alan
     Block <ABlock@mckoolsmith.com>; AA_Intellectual_Ventures
     <AA_Intellectual_Ventures@mckoolsmith.com>; Allen Gardner
     <Allen@allengardnerlaw.com>; Jonathan K. Waldrop <JWaldrop@kasowitz.com>; John
     Downing <JDowning@kasowitz.com>; Intellectual Ventures
     <IntellectualVentures@kasowitz.com>
     Subject: Re: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A. No. 4:24-cv-
     00980



     Many thanks Casey.

     We will send you a draft of the unopposed motion for extension shortly.

     Best,
     Minh


             On May 15, 2025, at 1:06 PM, Casey L. Shomaker
             <cshomaker@mckoolsmith.com> wrote:


             Minh,

             We agree to the below modifications.
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                                              1848



          Thanks,


          McKool Smith | Casey L. Shomaker
          Associate | Dallas, TX | Tel: (214) 978-4218

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          From: ThucMinh Nguyen <TNguyen@kasowitz.com>
          Sent: Thursday, May 15, 2025 2:52 PM
          To: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
          <cbourget@McKoolSmith.com>; John B. Campbell
          <jcampbell@McKoolSmith.com>; Emily Tannenbaum
          <etannenbaum@McKoolSmith.com>; Kenneth Scott
          <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
          AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>
          Cc: Allen Gardner <Allen@allengardnerlaw.com>; Jonathan K. Waldrop
          <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>;
          Intellectual Ventures <IntellectualVentures@kasowitz.com>
          Subject: RE: Intellectual Ventures I LLC et al. v. American Airlines, Inc |
          C.A. No. 4:24-cv-00980

          Casey,

          We propose the below changes to the scheduling order, with all other
          deadlines remaining unchanged. Please let us know whether American is
          agreeable and we will circulate a draft of the unopposed motion for
          extension.

           Event                               Current Date                     Proposed New Date
           Infringement                        May 19, 2025                     May 23, 2025
           Contentions
           Invalidity Contentions              June 16, 2025                    June 20, 2025

          Many thanks,
          Minh

          From: Casey L. Shomaker <cshomaker@McKoolSmith.com>
          Sent: Thursday, May 15, 2025 6:50 AM
          To: ThucMinh Nguyen <TNguyen@kasowitz.com>; Clara Bourget
          <cbourget@McKoolSmith.com>; John B. Campbell
Case 4:24-cv-00980-ALM                          Document 52-2 Filed 06/10/25                  Page 9 of 10 PageID #:
                                                          1849

          <jcampbell@McKoolSmith.com>; Emily Tannenbaum
          <etannenbaum@McKoolSmith.com>; Kenneth Scott
          <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
          AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>
          Cc: Allen Gardner <Allen@allengardnerlaw.com>; Jonathan K. Waldrop
          <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>;
          Intellectual Ventures <IntellectualVentures@kasowitz.com>
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          Minh,

          Because IV’s requested extension will impact the claim construction
          deadlines, can you send over a proposal for how those deadlines
          should likewise be modified?

          Thanks,
                             <i mage0 02.png>




          <i mage0 01.png>




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          From: ThucMinh Nguyen <TNguyen@kasowitz.com>
          Sent: Wednesday, May 14, 2025 6:54 PM
          To: Casey L. Shomaker <cshomaker@McKoolSmith.com>; Clara Bourget
          <cbourget@McKoolSmith.com>; John B. Campbell
          <jcampbell@McKoolSmith.com>; Emily Tannenbaum
          <etannenbaum@McKoolSmith.com>; Kenneth Scott
          <kscott@McKoolSmith.com>; Alan Block <ABlock@McKoolSmith.com>;
          AA_Intellectual_Ventures <AA_Intellectual_Ventures@mckoolsmith.com>
          Cc: Allen Gardner <Allen@allengardnerlaw.com>; Jonathan K. Waldrop
Case 4:24-cv-00980-ALM             Document 52-2 Filed 06/10/25                             Page 10 of 10 PageID #:
                                              1850

           <JWaldrop@kasowitz.com>; John Downing <JDowning@kasowitz.com>;
           Intellectual Ventures <IntellectualVentures@kasowitz.com>
           Subject: Intellectual Ventures I LLC et al. v. American Airlines, Inc | C.A.
           No. 4:24-cv-00980




           Counsel,

           Please let us know whether American would agree to a
           short extension of the deadline for IV to serve
           infringement contentions from Monday, May 19 to
           Friday, May 23. IV would, of course, be amenable to a
           reciprocal extension of the deadline for American to
           serve invalidity contentions.

           Many thanks,

           Minh

           ThucMinh Nguyen
           Kasowitz Benson Torres LLP
           333 Twin Dolphin Drive, Suite 200
           Redwood Shores, CA 94065
           Tel. (650) 453-5420
           Fax. (650) 362-9302
           TNguyen@kasowitz.com

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